Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 1 of 17 PageID #: 1771




       EXHIBIT A
        Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 2 of 17 PageID #: 1772
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                             District
                                                       __________     of Delaware
                                                                   District of __________

         AMERITAS LIFE INSURANCE CORP.,                                        )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      23-236-GBW
   WILMINGTON SAVINGS FUND SOCIETY, FSB,                                       )
    SOLELY AS SECURITIES INTERMEDIARY                                          )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                   Wilmington Savings Fund Society FSB, c/o The Controller's Office
                                                500 Delaware Avenue, Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV

 Place: Cozen O'Connor                                                                 Date and Time:
           1650 Market Street, Suite 2800,                                                               03/26/2024 9:00 am
           Philadelphia, PA 19103

          The deposition will be recorded by this method:                     via stenographic, video, audio recording

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/12/2024
                                   CLERK OF COURT
                                                                                         OR
                                                                                                 /s/ Kaan Ekiner
                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff,
Ameritas Life Insurance Corp.                                           , who issues or requests this subpoena, are:
Kaan Ekiner, 1201 North Market Street, Ste 1001, Wilmington, De 19801, kekiner@cozen.com 302-295-2046

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 3 of 17 PageID #: 1773
AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 23-236-GBW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any) Wilmington Savings Fund Society FSB
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
       Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 4 of 17 PageID #: 1774

AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            SCHEDULE A

         1.         “You” or “Your” means Wilmington Savings Fund Society FSB and includes any

 of Your past and present agents, representatives, attorneys, and all other persons acting, or

 purporting to act, on Your behalf or in concert with You, as well as any entities that control, are

 controlled by, are under common control with, or otherwise affiliated with You.

         2.         “Document Subpoena” means the October 18, 2023 Subpoena to Produce

 Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action that was

 served on You in Ameritas Life Insurance Corp. v. Wilmington Savings Fund Society, FSB, Solely

 as Securities Intermediary, Civil Action No. 23-235-GBW (D. Del.), attached hereto as Exhibit

 1.

                                    TOPICS FOR EXAMINATION

         1.         Your efforts to collect and produce documents in response to the Document

 Subpoena, including the searches You conducted and the locations that You searched (e.g.,

 electronic databases, digital or physical archives, microfiche, back-up tapes, third-party archival

 providers, etc.).

         2.         Your retention policy for deposit account records, bank statements, and/or any

 information requested by the Document Subpoena.

         3.         The sources of the funds identified in Exhibit A to the Document Subpoena.




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       EXHIBIT 1
        Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 7 of 17 PageID #: 1777
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
         AMERITAS LIFE INSURANCE CORP.,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 23-236-GBW
  WILMINGTON SAVINGS FUND SOCIETY, FSB,
                                                                              )
   SOLELY AS SECURITIES INTERMEDIARY
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                 Wilmington Savings Fund Society FSB
                                        Controllers Office, 500 Delaware Avenue, Wilmington, DE 19801
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See "Exhibit A" attached



  Place: COZEN O'CONNOR, attn: Victoria Mazzola, 1201 North                             Date and Time:
           Market Street, Suite 1001, Wilmington, DE 19801; or                                              11/13/2023 10:00 am
           via email: vmazzola@cozen.com, (856) 340-6508

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:      10/18/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                           /s/Kaan Ekiner
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Ameritas Life Insurance Corp.                                            , who issues or requests this subpoena, are:
Kaan Ekiner, Cozen O'Connor, 1201 North Market Street, Suite 1001, Wilmington, DE, 19801, kekiner@cozen.com,
302-295-2046
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 8 of 17 PageID #: 1778
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 23-236-GBW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any) Wilmington Savings Fund Society FSB
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
       Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 9 of 17 PageID #: 1779
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                  EXHIBIT “A” TO SUBPOENA

                                           DEFINITIONS

        1.       “You” or “Your” means Wilmington Savings Fund Society FSB and includes any

 of Your agents, representatives, attorneys, and all other persons acting, or purporting to act, on

 Your behalf or in concert with You, as well as any entities that control, are controlled by, are under

 common control with, or otherwise affiliated with You.

        2.       The term “Federal Wire” refers the document attached hereto as Exhibit 1 that is

 dated August 6, 2007.

        3.       The term “Communication” refers to any transmittal of information, including but

 not limited to any and all inquiries, discussions, conferences, conversations, negotiations,

 agreements, meetings, interviews, telephone conversations, letter correspondence, notes,

 telegrams, facsimiles, electronic mail, memoranda, documents, writing, or other forms of

 communications, including but not limited to both oral and written communications. The term

 “Communication” includes but is not limited to oral and written communications, communications

 to, from, or within a business and/or corporate entity, and communications by and between

 representatives, employees, agents and/or servants of the business and/or corporate entity.

        4.       The term “Document” is used in the broadest possible sense under the Federal Rules

 of Civil Procedure and refers to, without limitation, any written, printed, typed, photostatted,

 photographic,    computerized,    recorded,    or       otherwise   reproduced   communications    or

 representation, whether composed of letters, words, numbers, pictures, sounds or symbols, or any

 combination thereof, and whether located on-site or in an off-site repository. This definition

 includes copies of duplicates of documents contemporaneously or subsequently created that have

 any non-conforming notes or other markings, regardless of origin or location. Without limiting the

                                                     1
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 generality of the foregoing, the term “Document” includes, but is not limited to, e-mails, whether

 in electronic or hard copy form, including e-mails that were “deleted” but that are recoverable from

 any electronic storage media, electronically stored information (including but not limited to

 information stored on optical disks, backup tapes, servers, hard drives, PDAs, or floppy disks),

 correspondence, memoranda, notes, records, letters, envelopes, telegrams, messages, studies,

 analyses, contracts, agreements, working papers, summaries, statistical statements, financial

 statements or work papers, accounts, analytical records, reports and/or summaries or

 investigations, trade letters, press releases, comparisons, books, calendars, diaries, articles,

 magazines, newspapers, booklets, brochures, pamphlets, circulars, bulletins, notices, drawings,

 diagrams, instructions, notes or minutes of meetings, or other communications of any type,

 including inter- and intra-office communications, questionnaires, surveys, charts, graphs,

 phonograph recordings, films, tapes, computer and word processor disks, data cells, drums, print-

 outs, all other data from which information can be obtained (translated, if necessary, into usable

 form), and any preliminary versions, drafts or revisions of any of the foregoing, of which You,

 Your agents, representatives, employees, accountants, or attorneys have possession, custody, or

 control.

         5.      Any reference to any third party, refers to that person or entity, any predecessor or

 successor persons or entities, and any of the third party’s agents, officers, directors, employees,

 representatives, attorneys, accountants, assignees, and all other persons acting, or purporting to

 act, on its behalf or in concert with the third party.




                                                    2
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                                          INSTRUCTIONS

         1.     Each request shall be deemed to call for the production of all original document or

 documents, or identical copies, within your possession, custody, or control, including any drafts,

 versions, or copies that differ in any respect from the original.

         2.     Each request that seeks information relating in any way to Communications to,

 from, or within a business and/or corporate entity includes all Communications by and between

 representatives, employees, agents and/or servants of the business and/or corporate entity

         3.     If a request for production calls for the production of a document or documents that

 you assert is privileged, identify the author, addressee, and all recipients of copies of the document,

 setting forth the date and general subject matter thereof, and state the basis for the claim of

 privilege. An objection or claim of privilege directed to part of a request does not obviate the

 requirement to respond to the parts of the request for which no objection to claim of privilege is

 made.

         4.     If a request cannot be produced in full, respond to the extent possible and specify

 the reasons for your inability to answer.

         5.     These requests for production are continuing, and should you acquire any additional

 information responsive to these requests, please supplement your responses accordingly.

         6.     Electronically stored information (“ESI”) should be produced, as far as reasonably

 possible, in either native format or TIFF format with linked text files, with all metadata preserved.

                                     DOCUMENT REQUESTS

         1.     All Documents and Communications relating to Marvin Flaks, the Marvin Flaks

 Life Insurance Trust, and/or Ameritas Policy No. U000038534.




                                                   3
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        2.      All Documents relating to bank accounts owned by or belonging to the Marvin

 Flaks Life Insurance Trust between July 1, 2006 and December 31, 2016.

        3.      For the time period of July 1, 2006 to December 31, 2016, all Documents relating

 to or showing account records for the bank account(s) reflected in the Federal Wire, including but

 not limited to, bank account number 208789644.

        4.      Documents sufficient to show the source of the $200,850 reflected in the Federal

 Wire (e.g., a document showing the corresponding deposit(s) into the bank account and who made

 such deposit(s)).

        5.      Documents sufficient to show who held any beneficial interest in Ameritas Policy

 No. U000038534 while You were involved with Ameritas Policy No. U000038534 in any

 capacity.




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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE
 AMERITAS LIFE INSURANCE CORP.,

                  Plaintiff,

         v.

 WILMINGTON SAVINGS FUND SOCIETY,
 FSB, SOLELY AS SECURITIES
 INTERMEDIARY,

                  Defendant,

                                                   C.A. No. 23-236-GBW

 WILMINGTON SAVINGS FUND SOCIETY,
 FSB, SOLELY AS SECURITIES
 INTERMEDIARY,

                  Counter-Claimant,


         v.

 AMERITAS LIFE INSURANCE CORP.,


                  Counter-Defendant.


              AFFIDAVIT OF WILMINGTON SAVINGS FUND SOCIETY FSB
                    OFFICER AND/OR CUSTODIAN OF RECORDS

                  Before me, the undersigned authority, personally appeared,


                      __________________________________________
                                         Name

                  Who, being duly sworn by me, deposes and says as follows:

 1.    Authority. I, _____________________, am a duly authorized officer and/or custodian of
       records of Wilmington Savings Fund Society FSB with authority to execute this affidavit
       and certify to the authenticity and accuracy of the records produced with this affidavit.

 2.    Records. The records produced by Wilmington Savings Fund Society FSB are original
       documents or are true copies of records of a regularly conducted activity that:
                                               5
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         A.      were made at or near the time of the occurrence of the matters set forth by, or from
                 information transmitted by, a person with knowledge of those matters;

         B.      were kept in the course of a regularly conducted activity of Wilmington Savings
                 Fund Society FSB; and

         C.      making the record was a regular practice of Wilmington Savings Fund Society FSB
                 in the course of the regularly conducted activity.

 3.      Production. (Select One)

 _______         The records that were produced in response to the subpoena attached hereto as
                 Exhibit A (totaling _____ pages) constitute a complete production of records
                 responsive to the subject request, order, or subpoena (or a complete production
                 under the terms of a subject request, order, or subpoena as subsequently limited by
                 the issuer).

 _______         A thorough search has been conducted and no records could be located that are
                 responsive to the subject request, order, or subpoena.

 4.      I declare under penalty of perjury that the foregoing is true and correct.



 Date:                                          Signature:


 Subscribed and Sworn to before Me this ________ day of ____________________, 2023.




 Notary Public




                                                   6
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       EXHIBIT 1
            Case 1:23-cv-00236-GBW Document 66-1 Filed 03/12/24 Page 17 of 17 PageID #: 1787
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